 Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 1 of 12 PageID #: 544




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

Southampton Community Healthcare, et al.,              )
                                                       )
                                       Plaintiffs,     )
                                                       )
v.                                                     )       No. 4:23-cv-00538
                                                       )
Andrew Bailey, in his official capacity as             )
      Missouri Attorney General,                       )
                                                       )
                                       Defendant.      )

 EMERGENCY MOTION TO REMAND TO STATE COURT AND FOR SETTING OF
             HEARING AS SOON AS PRACTICAL TODAY

       In this case, Plaintiffs filed suit in Missouri state court against the Missouri Attorney

General for promulgating, through a novel use of a decades-old Missouri consumer protection

statute and in violation of Missouri law, an emergency state rule imposing new regulations on

gender-affirming care. Plaintiffs assert three counts, all of which turn on allegations of state, not

federal, law. ECF 1-1, at 28 (Count I - “Violation of §§ 536.014, 536.021, and 536.025,

noncompliance with [state] rulemaking procedures, absence of authority, absence of emergency”);

id. at 31 (Count II - “Violation of §§ 536.014 and 407.020, lack of statutory authority and conflict

with state law”); id. at 34 (Count III - “Violation of § 536.014, arbitrary and capricious [under state

administrative law]”). The emergency rule takes effect tomorrow, April 27, and a hearing was

set on a temporary restraining order this afternoon at 1:30 p.m. in state court.

       At the last moment (9:13 p.m. CT last night), the Attorney General removed this case,

invoking federal-question jurisdiction. By its own terms, the short removal rests only on (1)

passing and errant references to the “constitution” and “laws of the United States” in the Petition,

divorced from any pled claim; and (2) language in the TRO papers—which have no analog on the

face of the Petition (the document that actually governs removal under the well-pleaded complaint
 Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 2 of 12 PageID #: 545




rule). The Petition includes no allegation of any federal constitutional violation, cites repeatedly

and exclusively to state statutes, and—where it mentions the constitution—invokes state

constitutional concerns.

       This Court has faced an analogous situation before, in which a party sought removal “to

avoid having the Missouri state courts decide the novel issues of Missouri state law that permeate

this case,” where a plaintiff “[sought] shelter in federal court on the slender reed of one sentence

in” a 41-page, multi-count petition. State ex rel. Schmitt v. Page, No. 4:21-CV-00948-SRC, 2021

WL 3286787, at *1 (E.D. Mo. Aug. 1, 2021). When the Attorney General was on the receiving

end of a removal in that case, this Court “question[ed] whether that lone sentence [gave] it federal-

question jurisdiction.” Id. It did not, and this Court immediately remanded to allow the state court

to issue necessary temporary injunctive relief. The same result governs here, and immediate

remand is required. Alternatively, given the exigent circumstances and need for immediate relief

from the emergency rule, which goes into effect at 12:00 A.M., tomorrow, the Court should

remand parts of this case (Counts II and III) to the St. Louis County Circuit Court to proceed with

the scheduled temporary restraining order hearing at 1:30 p.m., and retain supplemental

jurisdiction over Count I.

                                      LEGAL STANDARD

       Federal-question jurisdiction allows a defendant to remove a state-court action to federal

court only if the federal court could have exercised original jurisdiction based on the face of the

state court complaint. 28 U.S.C. § 1441(a). The federal court must remand the case to state court

if it appears at any time that the federal court lacks subject-matter jurisdiction. 28 U.S.C.

§ 1447(c). All doubts as to the propriety of exercising federal jurisdiction over a removed case




                                                 2
 Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 3 of 12 PageID #: 546




must be resolved in favor of remand to state court. In re Prempro Prods. Liab. Litig., 591 F.3d

613, 620 (8th Cir. 2010).

       When the removing party invokes federal-question jurisdiction, the propriety of removal is

governed by the allegations within the removed petition, not other papers. Caterpillar Inc. v.

Williams, 482 U.S. 386, 392 (1987) (“The presence or absence of federal-question jurisdiction is

governed by the ‘well-pleaded complaint rule,’ which provides that federal jurisdiction exists only

when a federal question is presented on the face of the plaintiff's properly-pleaded complaint. The

rule makes the plaintiff the master of the claim.”). Because plaintiffs control the allegations within

their petition, they may avoid federal jurisdiction by relying exclusively on state law. Id.; Central

Iowa Power Coop. v. Midwest Independent Transmission System Operator, Inc., 561 F.3d 904,

912 (8th Cir. 2009).

                                           ARGUMENT

       The face of this Petition raises no federal question because all of the claims expressly arise

under state law, the references to constitutional violations refer to the state constitution, and there

is no developed argument grounded in the Petition that raises any federal question. Not only is the

“federal question” in this case not substantial (the standard for removal on the basis of federal

question jurisdiction)—it is nonexistent. As this Court has already concluded (and as the Attorney

General knows, since he’s been in Plaintiffs’ position), “a passing reference to the federal

constitution in a state-court petition that only seeks relief under state law” does not a federal

question make. Schmitt, 2021 WL 3286787, at *2-3, 5. Schmitt serves as a guide (although this

case is even easier than that one). Immediate remand is requested here given the need to resolve

an emergency TRO today.




                                                  3
 Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 4 of 12 PageID #: 547




       In Schmitt, removal occurred “days after” the Attorney General filed suit and “hours before

a scheduled temporary-restraining-order hearing in state court,” which led this Court to grant

immediate (and practical) relief that kept things on schedule and avoided “federal courts decid[ing]

numerous novel issues of state law.” Id. at *1. But in that case, due to exigent circumstances

alleged by the Attorney General in that case, upon removal, the Court, sua sponte, remanded “the

entirety of” exclusively state-law counts back to state court, retaining jurisdiction over the sole

count that arguably raised a federal question. Id. at *5. “Rather than delaying a hearing on the

TRO Motion,” this allowed the Attorney General’s “pending TRO Motion,” which indisputably

raised “purely issues of state law and relate[d] only to the state-law claims in the” operative

complaint, to be left “for the state court to decide” at its scheduled hearing. Id. at *2. There is a

similar problem of timing here, and a similar need for immediate relief on a pending TRO motion.

        If the Court does not immediately remand the entire case to state court, it should chart the

same sensible course of an immediate partial remand in this case for several reasons.

       A. The Court Should Immediately Remand This Case In Its Entirety.

       The Petition does not assert claims that give rise to federal-question jurisdiction. “Federal

question jurisdiction exists if the well-pleaded [petition] establishes either that federal law creates

the cause of action or that the plaintiff’s right to relief necessarily depends on resolution of a

substantial question of federal law.” Great Lakes Gas Transmission Ltd. Partnership v. Essar

Steel Minnesota LLC, 843 F.3d 325, 329 (8th Cir. 2016) (quoting Williams v. Ragnone, 147 F.3d

700, 702 (8th Cir. 1998)).

       The three counts in this Petition allege violations of Missouri law, not federal law. ECF 1-

1, at 28 (Count I - “Violation of §§ 536.014, 536.021, and 536.025”); id. at 31 (Count II -

“Violation of §§ 536.014 and 407.020”); id. at 34 (Count III - “Violation of § 536.014”). In



                                                  4
 Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 5 of 12 PageID #: 548




Schmitt, the “overwhelming majority” of the Petition “allege[d] violations of Missouri laws or the

Missouri Constitution.” Schmitt, 2021 WL 3286787, at *3. Here, the entire Petition turns on state

and not federal issues.

       Yet defendants in Schmitt sought removal based on a “single reference to the [federal]

Constitution” in a 41-page multi-count petition. Id. at *2-3, 5. In Schmitt, one count “primarily

allege[d] violations of the Missouri Constitution and Missouri RFRA,” but also contained a single

assertion that the challenged agency action “violate[d] the Free Exercise Clause of the United

States and Missouri constitutions[.]” Id. at *3. The Court, however, found that invocation of the

First Amendment in a single sentence in a 41-page petition insufficient to trigger federal-question

jurisdiction. Id. So, too here.

       A direct invocation of a specific constitutional provision—the First Amendment—was not

enough in Schmitt, and the Attorney General in this case cites to even less in this Petition. The

removal papers cite a single passing reference to the Petition that quotes a state statute, which

itself requires compliance with the state and federal constitutions, and then proceeds to raise a

question of state constitutional law. See Removal at ¶ 15 (citing Petition ¶168).

       This paragraph in the Petition states in its entirety: “Third, to bypass the notice-and-

comment process, the Attorney General had to ‘[f]ollow[] procedures which comply with the

protections extended by the Missouri and United States Constitutions,’ § 536.025.1(3), but the

emergency procedures used here frustrate Plaintiffs’ rights and traditional separation-of-powers

principles.” See id. (alterations in Petition). The reference to the “United States Constitution” is

a direct quotation from Missouri’s administrative procedures act (which sensibly requires that state

agencies not violate the federal constitution). The conclusion of that paragraph is that the Attorney

General’s emergency rulemaking here violates state separation of powers principles by usurping



                                                 5
 Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 6 of 12 PageID #: 549




the proper role of the state legislature. The Petition contains no citation to any single constitutional

provision, but only a single passing reference in a state administrative law statute to the federal

constitution. This is less than the “thin reed” that was the basis for removal in Schmitt.

       The only other reference to federal law that the Attorney General can muster comes from

the TRO papers, not the Petition—and therefore cannot serve as a basis for removal. See Removal

at ¶ 15 (referring to “Plaintiffs own statements in their TRO and TRO memorandum”). These

errant statements do not tie into anything actually contained in the complaint and the TRO papers

cannot raise a claim the Petition does not plead. The “well-pleaded complaint” rule precludes

reliance on these erroneous statements as a basis for removal.

       Additionally, it is clear from the relief sought in the Petition that Plaintiffs do not seek to

remedy any violations of the federal Constitution, which raises yet another parallel to Schmitt. See

Schmitt, 2021 WL 3286787, at *2 (“Seemingly relevant to this Court’s subject-matter jurisdiction,

however, the prayer for relief does not seek relief under the federal constitution or any other federal

law.”). There, like here, “a lone passing reference to the federal Constitution does not form any

basis on which the [Attorney] General … seeks relief.” Id. Federal-question jurisdiction is absent.

       B.      Alternatively, If The Court Does Not Immediately Remand The Entire Case,
               It Should At Least Remand Counts II and III So The TRO Hearing Can
               Proceed In State Court As Planned Today.

       Immediate remand is appropriate. But if the Court needs more time to consider this issue,

it should adopt a sensible compromise (as did the Court in Schmitt) and, in light of the need for

resolution of the TRO request today, remand the parts of the Petition that are inarguably based in

state law. In other words, even if Count I of the Petition “raises a fundamental jurisdictional

question of whether plaintiff's right to relief necessarily depends on resolution of a substantial

question of federal law,” id. at *3 (quotation marks omitted), the Court need not decide that issue



                                                   6
 Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 7 of 12 PageID #: 550




now. Plaintiffs, like the Attorney General in Schmitt, “seek[] immediate emergency relief.” Id.

Thus, rather than decide this fundamental question, the Court may assume for the time being,

without deciding, that it has jurisdiction over Count I. The Court nevertheless must “determine

whether it would exercise supplemental over the multitude of state-law claims in the case.” Id.

Here, there is no argument (even by the Attorney General) that Counts II and III of the Petition

raise any federal question. “If this Court were to decline to exercise supplemental jurisdiction,

then the state court may proceed to determine the state-law claims, including the TRO Motion,

without delay.” Id. If it has any doubts about the propriety of federal question jurisdiction under

Count I, the Court should at least decline supplemental jurisdiction over Counts II and III and leave

them to the state court.

       When supplemental jurisdiction exists under § 1367(a), the district court may decline to

exercise supplemental jurisdiction in certain circumstances, namely if:

       (1) the claim raises a novel or complex issue of State law,
       (2) the claim substantially predominates over the claim or claims over which the
       district court has original jurisdiction,
       (3) the district court has dismissed all claims over which it has original jurisdiction,
       or
       (4) in exceptional circumstances, there are other compelling reasons for declining
       jurisdiction.

28 U.S.C. § 1367(c) (emphasis added).

       Section 1367(c) grants the district court discretion to reject jurisdiction over supplemental

claims, “but only to a point.” McLaurin v. Prater, 30 F.3d 982, 985 (8th Cir. 1994) (“The statute

plainly allows the district court to reject jurisdiction over supplemental claims only in the four

instances described therein.”). Where the case clearly fits within any one of the four subsections

listed within § 1367(c), the court may decline to exercise supplemental jurisdiction “at any time in

the litigation.” Innovative Home Health Care, Inc. v. P.T.-O.T. Assocs. of the Black Hills, 141



                                                  7
    Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 8 of 12 PageID #: 551




F.3d 1284, 1287 (8th Cir. 1998). The Court here, like the Court in Schmitt, should find that the

state-law claims in Counts II and III raise novel issues of state law and substantially predominate

over what may (or may not) be a combined state-and-federal claim.

         The Petition raises novel state-law issues better suited for state court. There is no dispute

that Counts II and III of the Petition raise novel state-law issues, including whether the Attorney

General has the authority under the Missouri Merchandising Practices Act to promulgate rules

regulating health care.1 Missouri courts, not federal courts, should be the first to address that

significant question about the scope of the state attorney general’s powers. The remaining claims

raise novel applications of state law to a unique situation.

         Federal courts, as a matter of comity, should not venture to interpret state laws in the

absence of guidance from state appellate courts. See Fielder v. Credit Acceptance Corp., 188 F.3d

1031, 1038 (8th Cir. 1999) (“[N]ovel, complex, and important issues of state law on which the

[state] appellate courts have given us little or no prior guidance ... are precisely the types of issues

as to which federal courts should hesitate to exercise § 1367 supplemental jurisdiction.”); Women

Prisoners of District of Columbia Dept. of Corrections v. District of Columbia, 93 F.3d 910, 921-

23 (D.C. Cir. 1996) (district court abused its discretion by retaining supplemental jurisdiction over

a novel issue of state law) (“[P]rinciples of comity and the desirability of a surer-footed reading of

applicable law support the determination of state claims in state court. Determination by the state

court is especially important where the case involves novel and unsettled issues of state law.”

(quoting Grano v. Barry, 733 F.2d 164, 169, (D.C. Cir. 1984)). Because Counts II and III rest upon

a novel interpretation of Missouri law, and raise novel applications of state law, the Missouri state



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        Count I certainly raises an issue of first impression under Missouri law, as it seeks an
interpretation of a Missouri statute that has never before been interpreted in the breathtaking
manner the Attorney General interprets it.
                                                   8
 Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 9 of 12 PageID #: 552




courts should address these issues. See Ethex Corp. v. First Horizon Pharmaceutical Corp., 228

F.Supp.2d 1048, 1059 (E.D. Mo. 2002). “For this reason alone, the Court [should] decline[] to

exercise supplemental jurisdiction” over Counts II and III. Schmitt, 2021 WL 3286787, at *4.

       Finally, even if the Court believed there was a taste of federal law in the Petition, there is

no doubt that the state-law claims substantially predominate over any federal claim. This Court in

Schmitt found the state-law claims there “substantially predominate[d]” over the sole potential

federal claim. Id.

       “Where ‘the state issues substantially predominate, whether in terms of proof, of the scope

of the issues raised, or of the comprehensiveness of the remedy sought, the state claims may be

dismissed without prejudice and left for resolution to state tribunals.’” De Asencio v. Tyson Foods,

Inc., 342 F.3d 301, 309 (3rd Cir. 2003), as amended (Nov. 14, 2003) (quoting Gibbs, 383 U.S. at

726); see also TMTB I, LLC v. City of Manchester, 2007 WL 3146562, at *2 (E.D. Mo. Oct. 25,

2007) (citing Gibbs, 383 U.S. at 726–27). “[A] district court will find substantial predominance

where a state claim constitutes the real body of a case, to which the federal claim is only an

appendage—only where permitting litigation of all claims in the district court can accurately be

described as allowing a federal tail to wag what is in substance a state dog[.]’ ” De Asencio, 342

F.3d at 309.

       “This case is a Clifford-sized ‘state dog,’ with a whisp of a ‘federal tail’ at best.” Schmitt,

2021 WL 3286787, at *5. Indeed, “[a]side from a passing reference to the federal [Constitution]

in a single paragraph, every count in the” multi-count Petition “asserts only claims based on

Missouri law, the descriptive titles of each count ... mention only state law, … and the prayer for

relief seeks relief only under state law.” Id. “If a federal claim is buried in Count [I], it does not

form the body of the case as a whole; any federal claim is, at most, an appendage.” Id.



                                                  9
Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 10 of 12 PageID #: 553




         To place a finer point on the analysis, Count I deals primarily with Missouri state law,

evidenced by the descriptive title’s reference only to state law, and the remainder of the Count’s

alleging that the emergency rule is invalid or unlawful under “§§ 536.014, 536.021, and 536.025.”

Put simply, “the state-law issues predominate with regard to the scope of proof, issues raised, and

the comprehensiveness of relief in this case.” Id.

         Accordingly, for the additional reason that state-law issues substantially predominate over

any federal claim in Count I, the Court, like the Court in Schmitt, should decline to exercise

supplemental jurisdiction over the remaining state-law claims.

                                          CONCLUSION

         The Court should remand the case to state court. Alternatively, if the Court has questions

whether it has federal-question jurisdiction over some portion of Count I in the Petition, the Court

should decline to exercise supplemental jurisdiction over Counts II and III and remand those

Counts so that the state court can hear Plaintiffs TRO Motion without delay. See Schmitt, 2021

WL 3286787, at *5 (“[T]he Court remands this case to the state court, but for the present time

retains jurisdiction over whatever portion of the claim in Count 8 that may arise under the Free

Exercise Clause of the U.S. Constitution.”) (collecting cases).

         Plaintiffs request an emergency hearing on this motion to be set for as early as practical

today.




                                                 10
Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 11 of 12 PageID #: 554




Dated: April 26, 2023                  Respectfully submitted,
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                                      11
Case: 4:23-cv-00538-HEA Doc. #: 11 Filed: 04/26/23 Page: 12 of 12 PageID #: 555




                                CERTIFICATE OF SERVICE
       I hereby certify that on this 26th day of April, 2023, a copy of the foregoing was filed

electronically with the Court to be served on counsel of record.


                                                     /s/ J. Bennett Clark           _




                                                12
